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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: PROCESSED EGG PRODUCTS                                       MUL TIDISTRICT
ANTITRUST LITIGATION                                                LITIGATION

                                                                    No. 08-md-2002
THIS DOCUMENT APPLIES TO:
Kraft Foods Global, Inc. v. Cal-Maine Foods, Inc. et al.,           No. 12-cv-0088

                                             ORDER

       AND NOW, this 14th day of September, 2015, upon consideration of The Kraft Direct

Action Plaintiffs' Motion for an Order Excluding Them from the Cal-Maine/Direct Purchaser

Plaintiff Settlement, or Alternatively Enlarging Their Time to Opt Out (Docket No. 1123),

Defendant Cal-Maine Foods, Inc. 's Opposition (Docket No. 1133), The Kraft Direct Action

Plaintiffs' Reply (Docket No. 1136), and following an evidentiary hearing on July 1, 2015, and

post-hearing briefing (Docket Nos. 1255-56) it is hereby ORDERED that The Kraft Direct

Action Plaintiffs' Motion for an Order Excluding Them from the Cal-Maine/Direct Purchaser

Plaintiff Settlement, or Alternatively Enlarging Their Time to Opt Out (Docket No. 1123) is

GRANTED, and the Court will enlarge the time for The Kraft Direct Action Plaintiffs to opt out.

The Kraft Direct Action Plaintiffs shall confirm on the record and docket their opt-out status

within one week from the date of this Order.



                                                     BY THE COURT:
